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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA                              JS-6
                                    CIVIL MINUTES – GENERAL

                                                                              October 20, 2021
 Case No.       8:21-cv-01382-CJC-KES                               Date
 Title          Adam Ghadiri v. Buena Park Dental et al



Present: The Honorable       CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE
 Elsa Vargas for Rolls Royce Paschal                    None Reported                   __________
                Deputy Clerk                      Court Reporter / Recorder              Tape No.
           Attorneys Present for Plaintiffs:                  Attorneys Present for Defendants:
                    None Present                                       None Present


 PROCEEDINGS:             (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
                          VOLUNTARY DISMISSAL

       The Court, having been advised by the Plaintiff that this action has been resolved by a
Notice of Voluntary Dismissal [15], hereby orders this action dismissed with prejudice. The
Court hereby orders all proceedings in the case vacated and taken off calendar.




                                                                                  -        :      -
                                                  Initials of Deputy Clerk    eva/rrp




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